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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

             v.                                               No. 15-CR-346

MILES McCHESNEY,

                           Defendant.


CHRISTIAN F. HUMMEL
U.S. MAGISTRATE JUDGE


                                  ORDER OF DETENTION

      A warrant for the arrest of the defendant was issued upon the petition of the United

States Probation Office seeking revocation of the defendant’s supervised release. The

defendant was arrested and appeared for an initial appearance and detention hearing on June

14, 2017.

      The United States moved for the detention of the defendant pending a final revocation

hearing upon the grounds that the defendant is a risk of flight and a danger to the community.

Defense counsel did not oppose the government’s request, reserved the defendant’s right to

have a detention hearing at a future date should there be a change in circumstances, and

waived the defendant’s right to a preliminary hearing. For the reasons stated at the conclusion

of the hearing, which are incorporated herein by reference, it is hereby

      ORDERED that pursuant to Fed. R. Crim. P. 32.1(a)(1) and 46(c), and pursuant to 18

U.S.C. §§ 3142 and 3143, the defendant shall be held without bail pending a hearing on the

revocation of the defendant’s conditions of supervised release before United States District

Court Judge Mae A. D’Agostino on June 29, 2017, at 10:00 a.m ., in Albany, New York.
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IT IS SO ORDERED.


DATED: June 14, 2017
       Albany, New York




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